Case 3:17-cv-00072-NKM-JCH Document 447 Filed 03/18/19 Page 1 of 4 Pageid#: 4156


Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division; Sines v. Kessler; Case No. 3:17CV72 Date: 3/18/19; Type of
              Hearing: Telephonic Status Hearing; Parties: 1. Joel C. Hoppe; 2. Michael Bloch, 3.
              Edward ReBrook, 4. Jessica Phillips, 5. David Milles, 6. Roberta Kaplan, 7. James
              Stern, 8. James Kolenich, 9. John DiNucci, 10. Bryan Jones, 11. Jeff Schoep, 12.
              Vincennes ; Recorded by H. Wheeler; Time in Court 52 min


Date          3/18/2019 Location [CVILLE-3FTR]
Case 3:17-cv-00072-NKM-JCH Document 447 Filed 03/18/19 Page 2 of 4 Pageid#: 4157
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   Time         Speaker                                       Note
4:00:11 PM    1             Waiting
4:08:07 PM    1
4:09:54 PM    2             Michael Bloch ( with Gabrielle Tenzer )
4:09:56 PM    3             Edward ReBrook
4:09:58 PM    4             Jessica Phillips
4:09:59 PM    5             David Milles
4:10:01 PM    6             Roberta Kaplan
4:10:09 PM    7             James Stern
4:10:09 PM    1
4:10:19 PM    8             James Kolenich
4:10:21 PM    1
4:10:23 PM    9             John DiNucci
4:10:23 PM    1
4:10:34 PM    10            Bryan Jones
4:10:35 PM    1
4:10:48 PM    7             James Stern
4:10:49 PM    1
4:10:53 PM    3             Edward ReBrook
4:11:01 PM    1
4:11:32 PM    11            Jeff Schoep
4:11:33 PM    1
4:11:34 PM    12            Vincennes ( Counsel for Stern )
4:11:45 PM    1
4:12:47 PM    12            Vicennes
4:12:55 PM    1
4:13:00 PM    12            Vincennes
4:13:03 PM    1
4:13:19 PM    3             Edward ReBrook
4:13:20 PM    1
4:15:07 PM    2             Michael Bloch
4:16:41 PM    1
4:16:51 PM    1,8           James Kolenich
4:21:11 PM    1
4:21:21 PM    8             James Kolenich
4:22:05 PM    1,8
4:23:42 PM    1
4:24:31 PM    8
4:24:42 PM    1
4:24:49 PM    8
4:25:07 PM    1
4:25:14 PM    10            Bryan Jones
4:25:52 PM    1


3/18/2019                                                                                      2 of 4
Case 3:17-cv-00072-NKM-JCH Document 447 Filed 03/18/19 Page 3 of 4 Pageid#: 4158
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

4:26:10 PM    3             Edward ReBrook
4:26:19 PM    1
4:27:10 PM    3
4:27:27 PM    1
4:27:33 PM    2             Micahel Bloch
4:29:33 PM    1
4:30:24 PM    2
4:31:42 PM    1
4:32:05 PM    2
4:33:16 PM    1
4:34:23 PM    2
4:35:26 PM    1
4:35:50 PM    8
4:38:38 PM    1
4:38:46 PM    2
4:40:05 PM    1
4:41:08 PM    8             James Kolenich
4:42:42 PM    6             Roberta Kaplan
4:44:45 PM    1
4:44:49 PM    9
4:45:28 PM    1
4:45:47 PM    2
4:45:55 PM    9
4:46:22 PM    6
4:46:41 PM    9
4:46:48 PM    6, 9
4:46:55 PM    1
4:47:15 PM    7             James Stern
4:48:25 PM    1,7
4:48:35 PM    1
4:50:26 PM    2
4:51:23 PM    1
4:53:23 PM    7             James Stern
4:53:53 PM    11            Jeff Schoep
4:54:05 PM    1
4:55:01 PM    7
4:55:08 PM    1
4:55:40 PM    7
4:55:45 PM    1
4:55:56 PM    2
4:56:35 PM    1
4:56:50 PM    11            Jeff Schoep
4:57:19 PM    1


3/18/2019                                                                                      3 of 4
Case 3:17-cv-00072-NKM-JCH Document 447 Filed 03/18/19 Page 4 of 4 Pageid#: 4159
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

4:57:23 PM    3             Edward ReBrook
4:57:53 PM    1
4:57:57 PM    7
4:59:18 PM    1
4:59:34 PM    7
4:59:48 PM    1,2
4:59:49 PM    1, 8
4:59:54 PM    1,9
4:59:58 PM    1,10
5:00:06 PM    1
5:00:07 PM    END




3/18/2019                                                                                      4 of 4
